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IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM’

Authorized by.Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actionis No. 1 0-8888 and 10-2771)

JUDGE CARL BARBIER

_ MDL 2179 -

By submitting this document, | am asserting a claim in: Complaint and Petition of Triton Asset. Leasing GmbH, et
al., No. 10-2771;.adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh,.et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec.. Doc. 879] for private economic.losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise. adopt.the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md.2179), .

Last NameN

roa } First Name _ . | Middle amip/Maiden : | Suffix
Doran Ka ren L Ste, Nn. |
Phone Number TT: _ E-Mail Address
Address Oe ied SHH omy Se Zip ‘ Lh A

Employer Name: . | Business Name

‘Job Title 7 Description fo oo. Type of Business

Address : ue Address

City / State / Zip oo City / State / Zip

Last 4 digits of your Social Security Number KG b 7 "| Last 4 digits of your Tax ID Number

Attorney Name . Firm Name

Sidney D. Torres, Roberta L. Burns, David C. Jarrell

Law Offices of Sidney D. Torres, I, APLC
Address ve . . City / State / Zip
8301 W. Judge Perez Dr., Ste 303 Chalmette, LA 70032
Phone Number E-Mail Address

dcj@torres-law.com
- Claim Filed with GCCF?:

(504) 271-8421

Claim filed with BP? YES oO NO oO
If yes, BP Claim No.: a , : If yes, Claimant Identification No.:

YES (J NO []

Claim Type (Piease check alll that apply):
Oo Damage or destruction to real or personal property

C Eamings/Profit Loss
te Personal Injury/Death

Fear of Future injury and/or Medical Monitoring
Loss of Subsistence use of Natural Resources.
Removal and/or clean-up costs

Other:

Oooo

" ‘This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.

10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
. 2179), the filing of this form in'C.A. No. 10-8888 shall be deemed to be simultaneously filed-in-C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being

notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shail also serve in, lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence us

involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location-of fishing grounds at issue.

claims, describe the nature of the injury. For claims

2. For personal injury. claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion. claims related to clean-up or removal; include your role in the -clean-up activities, the name of your
employer, and where you were working. oe .

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The filing of this Direct Filing Short Form shall.also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Please check the box(es) below that you think apply to you and your claims:

Non-governmental Economic Loss and Property Damage Claims (Bundle Bi)

0 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business invoiving fishing, shrimping,
crabbing or oystering.

OJ 2. Seafood processor, ‘distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

0 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

0 4. Commercial business, business Owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or anemployee thereof.

C] 5. Recreational sport fishermen, recreational diver, beachgoer; or recreational boater.
Oe. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

Oj 7 Owner, lessor;-or lessee of real, property alleged tobe damaged, harmed or impacted, physically or economically, including
_‘lessees of-oyster beds. :

O38. Hotel owner and, operator, vacation rental owner and agent, oF all those who earn their living from the tourism industry.
0 9. Bank, financial institution, or.retail business that suffered losses as a result of the spill.
1 10. Person who utilizes natural resources for subsistence.

OO 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Propert Damage Related to Cleanu

C] 1. - Boat captain-or crew involved in the Vessels of Opportunity program.
oO 2. — Worker involved in decontaminating vessels that came into contact with oil-and/or chemical dispersants.

O3 Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicais, -
odors and emissions during post-explosion clean-up activities.

Both BP and. the Gulf, Goast Claims Facility (‘GCCF’) are:hereby authorized. to, release to the Defendants in MDL
2179 ail information‘and docurnénts submitted-by above-named Plaintiff and information regarding the status of any
laim, subject to such information being treated as “Confidential Access Restricted” under the Order
tiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
rey if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

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Print Name

AIG -26/).

Date

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement ofa Plaintiff to file a Plaintiff Profile Form.

